Case 1:19-cv-23100-DPG Document 1-5 Entered on FLSD Docket 07/25/2019 Page 1 of 3




       Exhibit A 3 ii
                       to
          Defendant’s Notice of Removal
Filing #Case
         92788157   E-Filed 07/18/2019
             1:19-cv-23100-DPG         03:13:02
                                 Document       PM
                                           1-5 Entered on FLSD Docket 07/25/2019 Page 2 of 3




      IN THE CIRCUIT COURT OF THE ELEVENTH JUDICIAL CIRCUIT
      IN AND FOR MIAMI-DADE COUNTY, FLORIDA

      CASE NO.: 2019-018945-CA-01
      SECTION: CA44
      JUDGE: William Thomas

      Cooperatieve Rabobank U.A., New York Branch et al
      Plaintiff(s) / Petitioner(s)
      vs.
      Crowe LLP
      Defendant(s) / Respondent(s)
      ____________________________/

               ORDER RESETTING INITIAL CASE MANAGEMENT CONFERENCE

               THIS CAUSE came before the Court on July 18, 2019, upon Plaintiff’s Motion for a Brief

      Postponement of the Initial Case Management Conference, and the Court having considered

      the Motion, reviewed the file, and being otherwise fully advised in the premises, it is

      ORDERED and ADJUDGED:


            1. Said Motion be and is hereby GRANTED.

            2. The Initial Case Management Conference currently scheduled for August 1, 2019 at 9:30
              AM is hereby rescheduled to take place on 9/5/19 at 9:15 in Room 1307, of the Miami-

              Dade County Courthouse, 73 West Flagler Street, Miami, Florida 33130.


               It is further;

      ORDERED and ADJUDGED that all parties should be prepared to discuss the status of the
      case as well as any outstanding motions.
Case 1:19-cv-23100-DPG Document 1-5 Entered on FLSD Docket 07/25/2019 Page 3 of 3
                                                                   CaseNo: 2019-018945-CA-01
                                                                   Page 2 of 2




DONE and ORDERED in Chambers at Miami-Dade County, Florida on this 18th day of July,
2019.




                                                    2019-018945-CA-01 07-18-2019 3:01 PM
                                                    Hon. William Thomas

                                                    CIRCUIT COURT JUDGE
                                                    Electronically Signed



 No Further Judicial Action Required on THIS MOTION

 CLERK TO RECLOSE CASE IF POST JUDGMENT



Copies Furnished To:
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Scott Jay Feder , Email : scottj8@aol.com
